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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,         )       CR. NO. 19-00105 SOM
                                  )
                  Plaintiff,      )       GOVERNMENT’S SENTENCING
                                  )       STATEMENT; CERTIFICATE OF
     vs.                          )       SERVICE
                                  )
LIANE WILSON,                (01) )
     a.k.a. Liana Shanti,         )
                                  )
                  Defendant.      )
______________________________ )


               GOVERNMENT’S SENTENCING STATEMENT

      The United States of America has received and reviewed the proposed

Presentence Report. The Government has no amendments or modifications to note
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thereto, and it presently has no other factual information relevant to the areas

addressed in the proposed Presentence Report.

             DATED: October 21, 2021, at Honolulu, Hawaii.

                                              JUDITH A. PHILIPS
                                              Acting United States Attorney
                                              District of Hawaii


                                              By      /s/ Michael Nammar
                                                   MICHAEL NAMMAR
                                                   Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on the dates and by the methods of service noted below,

a true and correct copy of the foregoing was served on the following at their last

known address:

Served Electronically through CM/ECF:

      Howard K.K. Luke, Esq.           howard@hkkluke.com

      Attorney for Defendant
      LIANE WILSON

Served by Hand-Delivery:

      U.S. PROBATION OFFICE
      Attn: Darsie J.T. Ing-Dodson
      300 Ala Moana Boulevard, Room 2-300
      Honolulu, Hawaii 96850

      DATED: October 21, 2021, at Honolulu, Hawaii.


                                              /s/ Janice Tsumoto
                                              U.S. Attorney’s Office
                                              District of Hawaii
